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 6
 7        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
 8                                              CALIFORNIA
 9
10   THE UNITED STATES OF AMERICA,                ) CASE: 2:13-cr-00304 and related to
                                                  )             2:07-cr-00348
11                 Plaintiff                      )
12                                                )
     v.                                           ) STIPULATION AND ORDER
13                                                ) DATE: December 5, 2013
     Darron Reed                                  ) TIME: 9 a.m.
14                                                ) DEPT: 7
15                 Defendant                      )
     ______                                       )
16
17         Plaintiff United States of America, by and through its counsel of record, and
18
     defendant, by and through defendant’s counsel of record, hereby stipulate as follows:
19
20         1. By previous order, this matter was set for status on December 5, 2013. It is
21         noted that the matter consists of two related cases, including a petition alleging a
22
           violation of the terms of supervised release in case CR S 07-348 MCE.
23
24         2. By this stipulation, defendant now moves to continue the status conference until

25         February 6, 2014, and to exclude time between December 5, 2013, and February 6,
26
           2014, under Local Code T4, in case CR S 13-304 MCE.
27
28         3. The parties agree and stipulate, and request that the Court find the following:

          1 STIPULATION REGARDING EXCLUDABLE TIME
               PERIODS UNDER SPEEDY TRIAL ACT
       Case 2:07-cr-00348-MCE Document 120 Filed 12/06/13 Page 2 of 3



 1           a) The government has represented that the discovery associated with this

 2           case is primarily physical evidence, seized from the defendant’s residence,
 3
             which is available for review by his counsel.
 4
             b) Counsel for defendant desires additional time to conduct legal research
 5
 6           regarding the pending charges, and to arrange to physically inspect the
 7
             evidence in this case.
 8
             c) Counsel for defendant believes that failure to grant the above-requested
 9
10           continuance would deny him the reasonable time necessary for effective
11           preparation, taking into account the exercise of due diligence.
12
             d) The government does not object to the continuance.
13
14           e) Based on the above-stated findings, the ends of justice served by
15           continuing the case as requested outweigh the interest of the public and the
16
             defendant in a trial within the original date prescribed by the Speedy Trial
17
18           Act.

19           f) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
20
             § 3161, et seq., within which trial must commence, the time period of
21
22           December 5, 2013 to February 6, 2014 inclusive, is deemed excludable in

23           case CR S 13-304 MCE pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
24
             [Local Code T4] because it results from a continuance granted by the Court
25
26           at defendant’s request on the basis of the Court’s finding that the ends of

27           justice served by taking such action outweigh the best interest of the public
28
             and the defendant in a speedy trial.
     2 STIPULATION REGARDING EXCLUDABLE TIME
        PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:07-cr-00348-MCE Document 120 Filed 12/06/13 Page 3 of 3



 1         4. Nothing in this stipulation and order shall preclude a finding that other

 2         provisions of the Speedy Trial Act dictate that additional time periods are
 3
           excludable from the period within which a trial must commence.
 4
     IT IS SO STIPULATED.
 5
 6   Dated: December 2, 2013                   BENJAMIN B. WAGNER United States Attorney

 7
 8                                             /s/ PHILIP A. FERRARI
 9                                             PHILIP A. FERRARI
10
                                               Assistant United States Attorney
11
12
     Dated: December 2, 2013                   /s/ JASON LAWLEY
13
14                                             JASON LAWLEY

15                                             Counsel for Defendant

16
17                                             ORDER
18
           IT IS SO ORDERED.
19
     Dated: December 5, 2013
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21
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28

          3 STIPULATION REGARDING EXCLUDABLE TIME
              PERIODS UNDER SPEEDY TRIAL ACT
